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               United States Court of Appeals
                               For the First Circuit
 No. 14-1212
      MARIA BARBOSA; HENRIQUETA BARBOSA; MANUEL BARBOSA; ANGELA
                               BARBOSA

                                    Plaintiffs - Appellees

                                              v.

   WILLIAM K. CONLON, in his official capacity as Chief of Police for the City of Brockton,
  MA; THOMAS HYLAND; JESSE DRANE; KENNETH LOFSTROM; BRIAN DONAHUE;
   STEVEN E. JOHNSON; MARK CELIA; MICHAEL DUBE; FRANK BAEZ; ANTHONY
  GIARDINI; EMANUEL GOMES; LEON MCCABE; BRIAN MAKER; JOHN DOE 1; JOHN
                                DOE 2; JOHN DOE 3

                                   Defendants - Appellants


                                        MANDATE

                                   Entered: June 10, 2014

        In accordance with the judgment of June 10, 2014, and pursuant to Federal Rule of
 Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                            By the Court:

                                            /s/ Margaret Carter, Clerk


 cc:
 Charles P. Kazarian
 Christopher S. Malloy
 Stephen C. Pfaff
